HOLLEY~DRIGGS'WALCH
FINE'WRAY‘ PUZEY' THOMPSON

 

 

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Attorneyfor GemCap Lending I, LLC

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
In re: Case No. 18-10453-LED
Chapter 11
U.S.A. DAWGS, INC.,

Debtor.

 

Adv. NO. 18~01011-LED
U.S.A. DAWGS, INC.,
NOTICE OF ENTRY OF ORDER

 

 

 

 

 

 

Plaintiff, GRANTING STIPULATION TO EXTEND
DEADLINE FOR GEMCAP LENDING I.
v. LLC T 0 PLEAD OR OTHERWISE
RESPOND TO ADVERSARY
GEMCAP LENDING I, LLC, COMPLAINT
Defendant.

 

PLEASE TAKE NOTICE that the Order Granting Stipulation to Extend Deadline for
GemCap Lending I, LLC to Plead or Otherwise Respond to Adversary Complaint
(“Q;M”) [Adv. ECF NO. 10] Was entered on March 26, 2018. A copy Of said Order is attached.

Dated this 26th day of March, 2018.

HOLLEY DRIGGS WALCH
FINE WBAYalZEY.§L TH()MPSON

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Case lB-OlOll-Ied Doc 10 Entered 03/26/18 13:41:13 Page

 

 

 

 

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3 Honorable Laurel E. Davis
4 United States Bankruptcy Judge
tered on Docket
5 rCh 26, 2018
6
7 Ogonna M. Brown, Esq. (NV Bar No. 7589) E-flled on: March 23 2018
Email: obrown@nevadaflrm.com Todd M. Lander, Esq. (CA Bar No. 17031)
8 F. Thornas EdWards, Esq. (NV Bar No. 9549) Email: todd.lander@ffslaw.com
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13 Atlorneyfor GemCap Lending I, LLC
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UNITED STATES BANKRUPTCY COURT
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DISTRICT OF NEVADA

In re:
U.S.A. DAWGS, INC.,
Debtor.

Case No. 18-10453-LED
Chapter 11

 

U.S.A. DAWGS, INC.,
Plaintiff,

v.

GEMCAP LENDING I, LLC, A
DELAWARE LIMITED LIABILITY
COMPANY Defendant.

Adv. No. 18-01011-LED

ORDER GRANTING STIPULATION TO
EXTEND DEADLINE FOR GEMCAP
LENDING I, LLC, TO PLEAD OR
OTHERWISE RESPOND 'I`O
ADVERSARY COMPLAINT

 

 

The Court, having read and considered the Stipulation to Extend Deadline for GemCap

Lending l, LLC to Plead or Otherwise Respond to Adversary Complaint (the “Stipulation”),

Submitted jointly by Plaintiff Debtor U.S.A. Dawgs, Inc. (“Plaintifi”), by and through its counsel

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Case 18-01011-|ed Doc 10 Entered 03/26/18 13:41:13 Page of 2

1 Talitha Gray Kozlowski, Esq. and Teresa M. Pilatowicz, Esq. of the law firm Garman Turner
2 Gordon LLP, and GemCap Lending l, LLC (“Defendant”) by and through its counsel Ogonna M.
3 Brown, Esq. of the law firm Holley Driggs Walch Fine Wray Puzey & Thompson, and Todd M.

4 Lander, Esq. of Freeman, Freeman & Smiley, LLP, and good cause appearing therefor,

5 IT IS ORDERED that that Stipulation is GRANTED.

6 IT IS FURTHER ORDERE]) that the deadline by which Defendant shall tile an answer
7 or other response to the Complaint on tile in this Adversary Proceeding [Adv. ECF No. 1] shall
8 be extended seven (7) calendar days, from March 23, 2018, to March 30, 2018.

9 IT IS FURTHER ORDERED that'Defendant shall have through March 30a 2018, to

10 file an answer or otherwise respond to the Complaint on tile in this Adversary Proceeding.
11
12 Prepared and submitted by:

13 HOLLEY DRIGGS WALCH
FINE WRAY PUZEY & THOMPSON
14

15 /s/ Mary Langsner

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FINE'WRAY‘ PUZEY'THOMPSON

 

 

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CERTIFICATE OF SERVICE

I hereby certify that 1 am an employee of Holley, Driggs, Walch, Fine, Wray, Puzey &
Thompson, and that on the 26th day of l\/larch, 2018, I caused to be served a true and correct
copy of NOTICE OF ENTRY OF ORDER GRANTING STIPULATION TO EXTEND
DEADLINE FOR GEMCAP LENDlNG l, LLC TO PLEAD OR OTHERWISE RESPOND TO
ADVERSARY COMPLAINT in the following manner:

}'A (ELECTRGNIC SERVICE) Under Administrative Order 02-1 (Rev. 8-31-04) of
the United States Bankruptcy Court for the District of Nevada, the above-referenced document
was electronically filed on the date hereof and served through the Notice of Electronic Filing
automatically generated by that Court’s facilities

[:l (UNITED STATES MAIL) By depositing a copy of the above-referenced
document for mailing in the United States l\/Iail, first class postage prepaid, at Las Vegas,
Nevada, to the parties listed on the attached service list, at their last known mailing addresses, on
the date above written.

I:l (OVERNIGHT COURIER) By depositing a true and correct copy of the above-
referenced document for overnight delivery via Federal Express, at a collection facility
maintained for such purpose, addressed to the parties on the attached service list, at their last
known delivery address, on the date above Written.

I:I (FACSIl\/IILE) That I served a true and correct copy of the above-referenced

document via facsimile, to the facsimile numbers indicated, to those persons listed on the

  

attached service list, on the date above written.

 

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An empl®‘ee of Holley, Driggs, Walch,
Fine, Wray, Puzey & Thompson

 

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